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 1                                                     THE HONORABLE JOHN C. COUGHENOUR
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 7                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     BERNADEAN RITTMANN, et al.,                        Consolidated Action
10                                                      Case No. 2:16-cv-01554-JCC
                        Plaintiffs,
11                                                      SUPPLEMENTAL DECLARATION OF
            v.                                          SARAH ZENEWICZ IN SUPPORT OF
12                                                      DEFENDANTS’ MOTION TO COMPEL
     AMAZON.COM, INC., et al.,                          DISCOVERY FROM NON-ARBITRATION
13                                                      OPT-IN PLAINTIFFS
                        Defendants.
14

15

16          I, Sarah Zenewicz, declare that:

17          1.      I am an attorney with Morgan, Lewis & Bockius LLP, and I represent Amazon

18   Defendants in the above-captioned action. I am over eighteen years of age and am competent to

19   testify herein. I make the following statements based on my personal knowledge.

20          2.      Attached hereto as Exhibit A is a true and correct copy of an email between

21   Plaintiffs’ counsel, Adelaide Pagano, and Courtroom Deputy Kadya Peter dated May 14, 2024.

22          I declare under penalty of perjury under the laws of the United States of America that the

23   forgoing is true and correct.

24          Dated this 14th day of June, 2024, in San Francisco, California

25                                               s/ Sarah Zenewicz
26                                               Sarah Zenewicz

      DECLARATION OF SARAH ZENEWICZ IN SUPPORT OF                       MORGAN, LEWIS & BOCKIUS LLP
      DEFENDANTS’ MOTION TO COMPEL DISCOVERY FROM NON-                               ATTORNEYS AT LAW
                                                                              1301 SECOND AVENUE, SUITE 3000
      ARBITRATION OPT-IN PLAINTIFFS – PAGE 1                                    SEATTLE, WASHINGTON 98101
      CASE NO. 2:16-cv-01554-JCC                                          TEL +1.206.274.6400 FAX +1.206.274.6401
Case 2:16-cv-01554-JCC   Document 301   Filed 06/14/24   Page 2 of 4




 EXHIBIT A
              Case 2:16-cv-01554-JCC          Document 301          Filed 06/14/24        Page 3 of 4


Zenewicz, Sarah

From:                          Adelaide Pagano <apagano@llrlaw.com>
Sent:                          Tuesday, May 14, 2024 12:11 PM
To:                            Kadya Peter; hlicthen@llrlaw.com; msubit@frankfreed.com; Shannon Liss-Riordan;
                               mcote_frankfreed.com; djohnson@bjtlegal.com; douglas@rastegarlawgroup.com;
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                               rsa@arnslaw.com; ssd@arnslaw.com; mburton@hershlaw.com; nhersh@hershlaw.com;
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                               hardeep@rekhiwolk.com; jbuccat@younessilaw.com; mdelossantos@younessilaw.com;
                               ryounessi@younessilaw.com; sortiz@younessilaw.com;
                               amy.mcgeever@morganlewis.com; Fellion, Andrea; DeCarlow, Andrew Steven; Berry,
                               Brian D.; Fahy, Brian D.; cbanks@crowell.com; Walsh, Jr., James P.; Battenfeld, John S.;
                               linda.shen@morganlewis.com; Fischer, Max; Rosenblatt, Richard G.;
                               robin.lagorio@morganlewis.com; Zenewicz, Sarah; theresa.mak@jacksonlewis.com;
                               lblas@gibsondunn.com; MCooney@gibsondunn.com; mholecek@gibsondunn.com;
                               Rowley, Miranda M.; todd.nunn@klgates.com
Subject:                       Re: 2:16-cv-01554-JCC Rittmann et al v. Amazon.com Inc et al


[EXTERNAL EMAIL]
Good afternoon,

I believe Defendants had previously filed a motion to compel discovery from certain opt-ins (see
Rittmann, ECF No. 280), which Plaintiffs had planned to oppose as Plaintiffs do not believe opt-in
discovery is appropriate prior to conditional certification. That motion was struck before Plaintiffs could
respond when the case was stayed. To the extent Defendants intend to re-file that motion, the parties
agreed on a timeframe for that to occur in #3 of the Supplemental Joint Status Report. Plaintiffs intend to
oppose any such re-filed motion.

Please let me know if this clarifies the judge's questions or if you require additional information.

Best,
Adelaide


From: Kadya Peter <Kadya_Peter@wawd.uscourts.gov>
Sent: Tuesday, May 14, 2024 2:04 PM
To: Adelaide Pagano <apagano@llrlaw.com>; hlicthen@llrlaw.com <hlicthen@llrlaw.com>; msubit@frankfreed.com
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<smt@classlawgroup.com>; hanley@sgb-law.com <hanley@sgb-law.com>; jed@arnslaw.com <jed@arnslaw.com>;
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                                                         1
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<mholecek@gibsondunn.com>; miranda.rowley@morganlewis.com <miranda.rowley@morganlewis.com>;
todd.nunn@klgates.com <todd.nunn@klgates.com>
Subject: 2:16-cv-01554-JCC Rittmann et al v. Amazon.com Inc et al

Good morning Counsel,

Judge Coughenour asked that I reach out in hopes of clarifying a portion of your recent supplemental joint status report
(Dkt. No. 297). On the top of Pg 2, item #3, you ask the Court to establish a deadline for Defendants to file a motion to
compel opt-in discovery. By this do you mean a motion to limit discovery to that required for an anticipated conditional
certification motion? If not, what do you mean by this? The Court is not clear what item #3 is exactly. The Court
understands Plaintiff’s position is that discovery, once the stay is lifted, should not be so limited, and should be available
to also support an anticipated Rule 23 motion. Is #3 in response to Plaintiffs’ position on the conditional certification and
scope of discovery issues (and if so why item #3 agreed to)?

Best regards,
Kadya




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